      Case 1:19-cv-00067-LO-MSN Document 71 Filed 10/22/19 Page 1 of 6 PageID# 817

A0120(Rev.08/10>


                                Mail Stop 8                                                      REPORT ON THE
TO:
         Director of the O.S. Patent and Trademark Office                           FILING OR DETERMINATION OF AN
                              P.O. Box 1450                                         ACTION REGARDING A PATENT OR
                      Alexandria, VA 22313-1450                                                     TRADEMARK


                 in Compliance with 35 U.S.C, §290 and/or 15 U.S.C. § 11 l6you are hereby advised thai acourt action has been
         filed in the U.S. District Court                        Eastern District of Virginia                              on the following
      Q]Trademarks or       □ Patents.      (□ the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                      DATE FILED                       U.S. DISTRICT COURT
       1:19-cv-00067                        1/17/2019                                    Eastern District of Virginia
PLAINTIFF                                                                 DEFENDANT

 Ck)de-To-Leam Foundation D/B/A Scratch Foundation                         Scratch.Org, an internet domain name



        PATENT OR                     DATE OF PATENT                                HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                   ORTRADEMARK

1    5,053.133                              5/15/2007               Scratch

2


3


4


5



                                n the above—entitled case, the following patenifs)/ trademarlc(s) have been included:
DATE INCLUDED                   INCLUDED BY
                                                        n Amendment           □ Answer          □ Cross Bill            □ Other Pleading
        PATENT OR                     DATE OF PATENT                                 HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                   ORTRADEMARK

I


2


3


4


5




                    in the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT
                                                                   y.          /I




CLERK                                                      (BY) DEPUTY CLERK                                             DATE


    Fernando Galindo                                       /^[          (X^A v-tX.
Copy 1—Upon initiation of action, nail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patentfs), mail this copy to Director            Copy 4—Case file copy
Case 1:19-cv-00067-LO-MSN Document 71 Filed 10/22/19 Page 2 of 6 PageID# 818
Case 1:19-cv-00067-LO-MSN Document 71 Filed 10/22/19 Page 3 of 6 PageID# 819
Case 1:19-cv-00067-LO-MSN Document 71 Filed 10/22/19 Page 4 of 6 PageID# 820
Case 1:19-cv-00067-LO-MSN Document 71 Filed 10/22/19 Page 5 of 6 PageID# 821
Case 1:19-cv-00067-LO-MSN Document 71 Filed 10/22/19 Page 6 of 6 PageID# 822
